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August 19, 2008

The Honorable Catherine C. Blake
United State District Court

U.S. Courthouse

101 West Lombard Street
Baltimore, MD 21201

RE: Watkins, et al. v. Castano, et al.
Civil No. CCB-07-2419

Dear Judge Blake:

Defendants are in agreement with the contents of Plaintiffs’ status report of
August 15, 2008.

Defendants anticipate that their case-in-chief will take no more than two
trial days. Defendants will not consent to a Magistrate Judge conducting further
proceedings in this case, including the trial.

Very truly yours,

VARNER & GOUNDRY
A Professional Corporation

OWrebl are

Conrad W. Varner

CWViljd
cc: Emily C. Malarkey, Esquire
Julia A. Lodowski, Esquire
